                              UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                    WESTERN DIVISION

                                   Civil Action No. 5:20-cv-00507-D


TIMOTHY K. MOORE, in his official                     )
capacity as Speaker of the North Carolina             )
House of Representatives, PHILIP E.                   )
BERGER, in his official capacity as President         )
Pro Tempore of the North Carolina Senate,             )
BOBBY HEATH, MAXINE WHITLEY, and                      )
ALAN SWAIN,                                           )
                                                      )     DEFENDANTS’ RESPONSE TO
                Plaintiffs,                           )      PLAINTIFFS’ MOTION FOR
        v.                                            )     TEMPORARY RESTRAINING
                                                      )              ORDER
DAMON CIRCOSTA, in his official capacity              )              [D.E. 8]
as Chair of the North Carolina State Board of         )
Elections, STELLA ANDERSON, in her                    )
official capacity as a member of the North            )
Carolina State Board of Elections, JEFF               )
CARMON, III, in his official capacity as a            )
member of the North Carolina State Board of           )
Elections, and KAREN BRINSON BELL, in                 )
her official capacity as the Executive Director       )
of the North Carolina State Board of Elections,       )
                                                      )
                Defendants.                           )




             Case 5:20-cv-00507-D Document 31 Filed 10/01/20 Page 1 of 30
                                              INTRODUCTION

          Plaintiffs—Republican legislators, candidates, and voters—invite this Court to wade into their

attack on the State Board of Elections, seeking to undermine the Board’s unanimous bipartisan decision—

reached after full and lengthy consideration and debate—to make a few modest accommodations to voters

to resolve a string of good-faith legal challenges arising from the unparalleled circumstance of having to

conduct an election amid a global pandemic.

        As detailed below, the Court would have to go to truly extraordinary lengths to accept plaintiffs’

invitation. Among other things, it would have to disregard numerous procedural and jurisdictional hurdles

and the principles that underlie them, rule on multiple issues of North Carolina law that are currently

pending before a North Carolina court, and displace the State Board of Elections as the body that is

legislatively authorized to decide how best to harmonize necessary adjustments to state elections

procedures with state law under exigent circumstances.

        Accepting plaintiffs’ invitation would also prolong the uncertainty that voters and election

administrators face. Ending that uncertainty, and doing so in a way that honors the intent and purpose of

North Carolina’s elections statutes, while avoiding the much more far-reaching measures that plaintiffs in

state and federal litigation have sought, are the precise reasons why the State Board decided to enter into

the proposed consent judgment currently pending before a North Carolina court.

        That proposed consent judgment makes three modest changes to procedures to be employed for

this year’s elections: (1) fulfilling the purpose of the witness requirement by allowing voters to cure

deficiencies in their own absentee ballots by attesting that they, in fact, marked the ballot; (2) extending

by a few days the deadline for receipt of absentee ballots that are postmarked by Election Day, to match

the deadline for overseas ballots and accommodate the U.S. Postal Service’s warning that more time is

needed because of this year’s unprecedented strain on the postal system; and (3) requiring individuals

who return absentee ballots in person to attest verbally to an elections official (who then logs the

attestation), rather than on a written log, that they are either the voter or a near relative and therefore are

legally authorized to deliver the ballot. No statutes are being ignored. No policies are being overwritten.

                                                        2

            Case 5:20-cv-00507-D Document 31 Filed 10/01/20 Page 2 of 30
        As the State Board unanimously concluded, making these accommodations is not only authorized

by State law, it is also a good outcome for the State. Under the agreement, the plaintiffs will withdraw

multiple other requests, including further expanding early voting, eliminating the witness rule and

postmark requirement altogether, and allowing for unsupervised absentee-ballot drop-boxes. The State

Board rejected all of those demands, and believes they would be ill-advised for numerous reasons.

Impeding entry of the consent judgment would risk reviving those claims. This Court should not accept

plaintiffs’ invitation to interpret state law on the flimsy bases they press here.

                                         STATEMENT OF FACTS

        A.       North Carolina’s Absentee-Ballot Restrictions.

        North Carolina has a statutory scheme that is designed to limit absentee-ballot fraud:

                Prohibition against anyone other than the voter or the voter’s near relative or guardian

                 making an absentee ballot request, N.C. Gen. Stat. § 163-230.2(a);

                Prohibition against anyone other than the voter, the voter’s near relative or guardian, or

                 member of a multipartisan assistance team returning in person an absentee ballot request,

                 N.C. Gen. Stat. § 163-230.2(e);

                Prohibition against anyone other than the voter or the voter’s near relative or guardian

                 returning a marked absentee ballot in person, N.C. Gen. Stat. § 163-226.3(a)(5)

                Administrative rule requiring a person returning an absentee ballot in person to provide

                 identifying information in writing and certifying that the person returning the ballot is the

                 voter or voter’s near relative or guardian, 08 NCAC 18. 0102. The rule--which became

                 effective in December 2018--states that county boards of elections “may consider the

                 delivery of a ballot in accordance with this rule in conjunction with other evidence in

                 determining whether the container-return envelope has been properly executed” and that

                 “[f]ailure to comply with this Rule shall not constitute evidence sufficient in and of itself

                 to establish that the voter did not lawfully vote his or her ballot.” Id.



                                                       3

             Case 5:20-cv-00507-D Document 31 Filed 10/01/20 Page 3 of 30
               Witness certification requirement that confirms that the voter marked the ballot or caused

                it to be marked in the voter’s presence.

        B.      COVID-19 and the Global Pandemic

        The effects of COVID-19, both on public health and on a wide variety of activities are, by now,

well-known. The COVID-19 pandemic has been widely recognized as the greatest global health crisis in

at least a century. In our State alone, aAt least 207,380 people in North Carolina have had laboratory-

confirmed cases of COVID-19 and at least 3,441 have died from the virus. See

https://covid19.ncdhhs.gov/, accessed Sept. 27, 2020.

        On March 25, 2020, the President of the United States issued a declaration of disaster for the

State as a result of the COVID-19 pandemic. This disaster declaration is still in place.

        C.      Remedial Actions by the State Board of Elections

        On March 20, 2020, the Executive Director instituted a temporary and permanent rulemaking

process to amend the rule governing the use of her emergency powers under section 163-27.1. The rule at

the time allowed the Executive Director to exercise her emergency powers in response to a catastrophe

resulting in a disaster declaration by the President of the United States. But because the President had not

yet issued a declaration of disaster, the Executive Director had to seek a rule change to allow her to

reschedule the Republican second primary in Congressional District 11 from May 12 to June 23. Ex. A.

The Rules Review Commission, in a summary opinion, declined to make the rule change permanent.

Contrary to the Legislators’ allegations, the rule change was not a “power grab” (Br. at 3) but an attempt

to allow members of the Legislators’ own party to choose their nominees under safe conditions.

        On March 26, 2020, the Executive Director sent a letter to the North Carolina General Assembly

and the Governor to address the issues raised by COVID-19, including inter alia, permitting postage to be

pre-paid for absentee ballots and reducing or eliminating the witness requirement for elections conducted

in 2020.

        And finally, on July 17, 2020, the Executive Director issued an emergency order requiring county

boards of elections to have minimum weekend hours, minimum number of sites in proportion to

                                                      4

             Case 5:20-cv-00507-D Document 31 Filed 10/01/20 Page 4 of 30
registered voter population, and minimum sanitation and hygiene standards. Ex. B. Because the

President’s disaster declaration was in effect, the Executive Director did not need to request a rule change

to do so. This emergency order remains unchallenged.

        D.       The Enactment of Session Law 2020-17

        On June 11, N.C. Sess. Law 2020-17 went into effect. This law made a number of changes in

response to the COVID-19 pandemic, including: reducing the requirement of having two witnesses for

absentee ballots to one witness and providing for absentee ballot requests to be made online. 2020 N.C.

Sess. Laws 17, §§ 1.(a), 7.(a).

        E.       United States Postal Service Delays

        On July 30, 2020, Thomas J. Marshall, General Counsel of the United States Postal Service wrote

North Carolina’s Secretary of State, warning that North Carolina elections law relating to absentee ballot

deadlines was “incongruous with the Postal Service’s delivery standards.” Pennsylvania v. DeJoy, No.

2:20-cv-04096 (E.D.P.A.), Dkt. 1-1 at 53-55. USPS stated that “there is a significant risk” that “ballots

may be requested in a manner that is consistent with your election rules and returned promptly, and yet

not be returned on time or be counted.” Id. IUSPS recommended that elections officials “allow 1 week

for delivery to voters” and that civilian voters “should generally mail their completed ballots at least one

week before the state’s due date. In states that allow mail-in ballots to be counted if they are both

postmarked by Election Day and received by election officials by a specific date that is less than a week

after Election Day, voters should mail their ballots at least one week before they must be received by

election officials.” Id. Accordingly, North Carolina voters can postmark their ballot by Election Day, but

because of USPS delays, may not have their ballots counted.

        F.       Previous Action: Democracy NC v. North Carolina State Board of Elections

        On May 22, 2020, voting-rights groups and individual voters filed an action in the U.S. District

Court for the Middle District of North Carolina. See Democracy North Carolina v. NC State Board of

Elections, 2020 U.S. Dist. LEXIS 138492 (Aug. 4, 2020). In that action, plaintiffs challenged various

provisions of North Carolina election law, alleging that in the context of the COVID-19 pandemic, those

                                                      5

             Case 5:20-cv-00507-D Document 31 Filed 10/01/20 Page 5 of 30
election law provisions infringe on their rights under federal law. Among the challenged provisions of

North Carolina law are the witness requirement for mail-in absentee ballots and the restrictions on how

absentee ballots can be returned to county boards of elections. The plaintiffs also sought procedures for

curing deficiencies in returned absentee ballots. The court granted permissive intervention to Moore and

Berger, the Legislator Plaintiffs in this action. The State Board Defendants vigorously defended against

these claims.

        On August 4, 2020, following a two-day evidentiary hearing and a third day of oral argument, the

court ruled on plaintiffs’ preliminary injunction motion. Id . In its 188-page opinion and order, the court

largely denied the preliminary injunction. However, the court enjoined defendants “from the disallowance

or rejection, or permitting the disallowance or rejection, of absentee ballots without due process as to

those ballots with a material error that is subject to remediation,” and directed the adoption of procedures

“which provide[] a voter with notice and an opportunity to be heard before an absentee ballot with a

material error subject to remediation is disallowed or rejected.” Id. at *182. These changes were

necessary, the court ruled, because North Carolina’s witness requirement as statutorily authorized was

likely unconstitutional. Thus, the court enjoined the State Defendants from “the disallowance or rejection

. . . of absentee ballots without due process as to those ballots with a material error that is subject to

remediation.” Id. at 187. Further, the court concluded that “when the ballot is rejected for a reason that is

curable, such as incomplete witness information, or a signature mismatch, and the voter is not given

notice or an opportunity to be heard on this deficiency, the court finds this ‘facially effect[s] a deprivation

of the right to vote.’” Id. at 156. This “compelled” the court to find that the absentee-ballot statutes were

“constitutionally inadequate” absent a statewide cure procedure. Id. at 157.

        Though the court denied much of the requested relief, it noted that “Plaintiffs have raised genuine

issues of concern with respect to the November General Election. Should Legislative and Executive

Defendants believe these issues may now be discounted or disregarded for purposes of the impending

election, they would be sorely mistaken.” Id. at *4No party, including Legislative Defendants, . appealed.



                                                        6

            Case 5:20-cv-00507-D Document 31 Filed 10/01/20 Page 6 of 30
        To attempt to comply with this injunction and pursuant to its statutory authority under section

163-22.2, the State Board released guidance that allowed voters to cure voter signature defects but

required a voter to re-vote her ballot for witness signature defects. Soon thereafter, the State Board

became concerned that the cure mechanism did not provide sufficient notice or opportunity to be heard on

witness signature defects and that it disparately affected the rights of certain groups of voters, thereby

giving rise to the risk of additional litigation that would hamper an orderly election process.

        As a result, and in a good-faith effort to ensure full compliance with the injunction while also

complying with other legal obligations, the State Board directed county boards not to disapprove any

ballots until a new cure procedure that would comply with the State Defendants’ understanding the

injunction could be implemented. On September 22, 2020, the State Board instituted the cure procedure

attached to the proposed consent judgment. The State Board subsequently notified the federal court of its

cure mechanism process.

        G.       State Court Action: North Carolina Alliance for Retired Americans v. North Carolina
                 State Board of Elections

        On August 10, 2020, the North Carolina Alliance for Retired Americans, with several individual

voters, filed an action in Wake Superior Court. Plaintiffs challenge: (1) limitations on the number of

hours and days that counties can offer one-stop in-person absentee voting; (2) the witness requirement for

mail-in ballots; (3) the lack of pre-paid postage for mail-in absentee ballot return envelopes; (4) rejection

of mail-in absentee ballots that are postmarked by Election Day but delivered to county boards more than

three days after the election, given concerns over delivery delays and operational difficulties with the

United States Postal Service; (5) rejection of absentee mail-in ballots due when the voters signature does

not match the signature on file with a board of elections; and (6) restrictions on assistance with requesting

a returning mail-in absentee ballots. On August 18, 2020, plaintiffs moved for a preliminary injunction.

        On August 12, 2020, the Legislative Defendants filed a notice of intervention as of right in the

NC Alliance action. That intervention as of right was effected by the filing of the notice, and they are now




                                                      7

             Case 5:20-cv-00507-D Document 31 Filed 10/01/20 Page 7 of 30
parties to that action as intervenor-defendants on behalf of the General Assembly. See N.C. Gen. Stat.

§§ 1-72.2 and 1A-1, Rule 24(c).

          H.      State Board’s Unanimous Bipartisan Decision to Resolve These Cases

          On September 15, 2020, the State Board met to discuss with agency counsel and counsel at the

North Carolina Department of Justice a strategy to resolve these cases. Because the conversation was

protected by the attorney-client privilege, the Board members met with their attorneys in closed session.

After lengthy discussion, the Board voted unanimously to propose an offer of settlement.

          Eight days later, on September 23, after the joint motion for entry of a consent judgment became

public, the two Republican members of the Board resigned. In their resignation letters, they suggested that

counsel from the North Carolina Department of Justice had deceived them and they did not understand

the vote they were taking. Ex. C. Records from the Board’s meeting with counsel plainly belie those

claims.

          On September 25, the remaining Board members voted to waive attorney-client privilege as to the

meeting minutes and preparation materials, including memoranda written by agency staff and outside

counsel, explaining various options and opportunities for compromise. Ex. D. The materials made clear

that Counsel from the Attorney General’s office had properly informed the Board of their options and had

in no way deceived them. Later that night, it became public that the North Carolina GOP had pressured

the Republican members to resign. Ex. E.

          I.      The Proposed Consent Judgment

          On September 22, 2020, the NC Alliance plaintiffs and State Board defendants filed a Joint

Motion for Entry of a Consent Judgment with the superior court. Under the proposed consent order,

plaintiffs agreed to drop many of their demands, including expanded early voting, elimination of the

witness requirement for mail-in absentee ballots, and pre-paid postage for mail-in absentee ballot return

envelopes. The State Defendants agreed: (1) to extend the deadline for receipt of mail-in absentee ballots

mailed on or before Election Day to nine (9 ) days after Election Day to match the UOCAVA deadline, in

keeping with the guidance received on July 30, 2020 from the Postal Service; (2) implement the cure

                                                      8

               Case 5:20-cv-00507-D Document 31 Filed 10/01/20 Page 8 of 30
process set forth in N.M. 2020-19, as revised; and (3) establish separate mail-in absentee ballot “drop off

stations” staffed by county board officials at each early voting site and at each county board of elections

to reduce the congestion and crowding at early voting sites and county board offices. Plaintiffs agreed to

accept these measures, which fell far short of their demands, “as a full and final resolution of Plaintiffs’

claims against Executive Defendants related to the conduct of the 2020 elections.” The hearing on the

joint motion is set for Friday.

                                                ARGUMENT

I.      Legal Standard

        The same standards that apply to preliminary injunctions apply to a motions for a temporary

restraining order. See, e.g., U.S. Dep’t of Labor v. Wolf Run Mining Co., 452 F.3d 275, 281 n.1 (4th Cir.

2006). To obtain a TRO, the moving party must show “that he is likely to succeed on the merits, that he is

likely to suffer irreparable harm in the absence of preliminary relief, that the balance of equities tips in his

favor, and that an injunction is in the public interest.” Winter v. Natural Res. Def. Council, Inc., 555 U.S.

7, 20 (2008). Plaintiffs have the burden of proof on each factor. Winter, 555 U.S. at 20. Additionally, a

plaintiff must show that success on the merits is likely “regardless of whether the balance of hardships

weighs in his favor.” The Real Truth About Obama, Inc. v. F.E.C., 575 F.3d 342, 346 (4th Cir. 2010),

vacated on other grounds, 559 U.S. 1089 (2010). This burden requires more than simply showing that

“grave or serious questions are presented.” Id. at 347. Like a preliminary injunction, a TRO is an

“extraordinary remedy,” and requires a showing of immediate threatened harm. N.C. State Bd. of Dental

Examiners v. FTC, 2011 U.S. Dist. LEXIS 12696, *4 (E.D.N.C. 2011).

II.     Plaintiffs Have No Likelihood of Success on the Merits

        Plaintiffs’ claims have numerous jurisdictional and procedural infirmities—each of which is an

independent ground for denying their motion for temporary restraining order.

        A.       Plaintiffs Lack Standing.

        Standing requires that a party show an “invasion of a legally protected interests that is concrete

and particularized and actual or imminent.” Arizonans for Official English v. Arizona, 520 U.S. 43, 64

                                                       9

             Case 5:20-cv-00507-D Document 31 Filed 10/01/20 Page 9 of 30
(1997). The injury must also be “fairly traceable to the challenged action” and “redressable by a favorable

ruling.” Clapper v. Amnesty Int’l USA, 568 U.S. 398, 409 (2013). Prudential standing requires that a party

“assert his own legal rights and interests, and cannot rest his claim to relief on the legal rights or interests

of third parties.” Kowalski v. Tesmer, 543 U.S. 125, 128 (2004) (internal quotations omitted).

                 1.       Plaintiffs Lack Prudential Standing.

        The Legislators and candidate are not proper parties to raise the Elections Clause or the Equal

Protection claims. The voters are not proper parties to raise the Elections Clause claim.

        “[A] party may assert only a violation of its own rights.” Virginia v. Am. Booksellers Ass’n, Inc.,

484 U.S. 383, 392 (1988). A plaintiff ordinarily “cannot rest his claim to relief on the legal rights or

interests of third parties.” Sec’y of State of Md. v. Joseph H. Munson Co., 467 U.S. 947, 955 (1984). Here,

the plaintiffs claim that the N.M. “usurp the General Assembly’s sole authority to prescribe the

regulations governing federal elections in North Carolina” pursuant to the Elections Clause. Dkt. 1, ¶ 84.

But none of the plaintiffs are the General Assembly.

        The Elections Clause vests authority to prescribe the “Times, Places and Manner of holding

Elections for Senators and Representatives . . . in each State by the Legislature thereof.” U.S. Const. art. I,

§ 4, cl. 1. The term “Legislature” means the lawmaking functionaries of the state, including state

legislatures and any other entities to which a state may delegate lawmaking authority, including courts.

Arizona State Legislature v. Arizona Independent Redistricting Comm’n, 576 U.S. 787, 803 (2015).

Accordingly, if the Elections Clause claim could be brought here, it would beis the General Assembly as

an institutional plaintiff that may have standing. Id. at 803.

        But none of the plaintiffs here are either the General Assembly or have been delegated

lawmaking functions. The Legislators allege in their complaint that, as the “leader[s]” of the North

Carolina legislative chambers, they “represent[] the institutional interests of th[ose] bod[ies] in this case.”

Dkt. 1, ¶¶ 7, 8. But the Legislators point to no authority—statutory or common law—that vests the right

within the Speaker and President Pro Tem to represent their entire respective chambers in litigation of this



                                                       10

           Case 5:20-cv-00507-D Document 31 Filed 10/01/20 Page 10 of 30
kind. See also Raines, 521 U.S. at 829 (noting that the plaintiffs “had not been authorized to represent

their respective Houses of Congress”).

        The Legislators rely on N.C. Gen. Stat. § 1-72.2 and 120-32.6 for their claimed authority to

“represent both the institutional interests of the General Assembly and the interest of the State as a whole

in this litigation.” Br. at 10. But their reliance on these statutes is misplaced. Both statutes only apply in

actions “in which validity or constitutionality of an act of the General Assembly or a provision of the

North Carolina Constitution is challenged.” (N.C. Gen. Stat. §§ 1-72.2(a), (b); 120-32.6). Here, plaintiffs

challenge only executive action. Accordingly, these statutes do not to grant them authority to represent the

Legislature as a whole in this case.

        Moreover, neither the Legislators nor the candidate can bring the Equal Protection Clause claim.

The right to participate in elections on an equal basis is a right that belongs to the voter, not to legislators

who bring their claims in their official capacity or as candidates for election. Dunn v. Blumstein, 405 U.S.

330, 336 (1972). Therefore, neither the Legislators nor the candidate has standing to bring the Equal-

Protection Claim.

                 2.       Plaintiffs’ Claims Are Not Ripe.

        Plaintiffs’ challenges to the constitutionality of N.M. 2020-22 and 2020-23 are not ripe. The

ripeness doctrine prevents courts “through avoidance of premature adjudication, from entangling

themselves in abstract disagreements over administrative policies, and also to protect agencies from

judicial interference until an administration decision has been formalized and its effects felt in a concrete

way by the challenging parties.” Abbott Laboratories v. Gardner, 387 U.S. 136, 148-49 (1967). To

determine ripeness, courts consider “whether resolution of the tendered issue is based upon events or

determinations which may not occur as anticipated.” A/S J. Ludwig v. Tidewater Const. Co., 559 F.3d

928, 932 (4th Cir. 1977).

        Plaintiffs seek to enjoin the State Board from “enforcing and distributing” N.M. 2020-22 and

2020-23. Dkt. 1 at 22. But the State Board has not issued those memos. They are the subjects of the

proposed consent judgment in NC Alliance, which has not yet been entered. If the joint motion is granted

                                                       11

           Case 5:20-cv-00507-D Document 31 Filed 10/01/20 Page 11 of 30
and the proposed consent decree is entered unchanged, the State Board will issue N.M. 2020-22 and

2020-23. But it is possible the court in NC Alliance will decline to enter the proposed order or make

changes to its substance. The N.M. will not take effect until then.

        For these reasons, plaintiffs’ request that this Court rule on the State Board’s authority to issue

these N.M. is, as the Fourth Circuit in Tidewater Construction Company admonished, “based upon events

or determinations which may not occur as anticipated.”

                 3.      Plaintiffs Failed to State an Injury.

        None of the plaintiffs can show injury from the N.M. To show injury-in-fact, a plaintiff must

demonstrate that the injury is “actual or imminent, not conjectural or hypothetical.” Friends of the Earth,

Inc. v. Laidlaw Environmental Servs., 528 U.S. 167, 180-81 (2000).

        Initially, unless the court in NC Alliance enters the proposed consent decree, N.M. 2020-22 and

2020-23 will not go immediately into effect. As a result, none of the plaintiffs can claim that these N.M.

are currently causing them any injury.

        The Legislators separately argue that they are injured under the Elections Clause because they

have an interest in “the validity of the duly-enacted laws” of North Carolina and a “prerogative to regulate

the federal elections in North Carolina.” Dkt. 1, ¶ 73. But under long-standing Supreme Court precedent,

these types of injuries are institutional injuries—not ones borne by individual legislators. See, e.g., Raines

v. Byrd, 521 U.S. 811, 821, 829 (1997) (holding that individual members of Congress did not suffer an

injury sufficient to challenge the Line Item Veto Act because it would dilute the efficacy of “all Members

of Congress and both Houses . . . equally.”). By contrast, only the legislature as a whole has the authority

to assert an institutional injury. Arizona Independent Redistricting Comm’n, 576 U.S. at 802 (recognizing

an injury when the Arizona Legislature as a whole asserted its institutional injury of forgoing authority to

perform redistricting duties). Here, because the Legislators represent just two of the members of the

General Assembly, they alone cannot assert any alleged institutional injury relating to the regulation of

elections in North Carolina and the enactment of statutes.



                                                     12

           Case 5:20-cv-00507-D Document 31 Filed 10/01/20 Page 12 of 30
        Moreover, the Legislators and the candidate have not alleged any injury resulting from any

perceived vote-dilution or uneven enforcement of laws.

        Nor do the voters succeed. They assert two injuries: that the N.M. enforce different requirements

on different voters and that the N.M. unlawfully “dilute” their votes. Even if the voters’ claims were

cognizable, the injuries they claim are not.

        The N.M. do not enforce different requirements on different voters, but rather do the exact

opposite. See N.M. 2020-19 (“County boards of elections must ensure that the votes of all eligible voters

are counted using the same standards, regardless of the county in which the voter resides.”). And N.M.

2020-22 and 2020-23 are not yet in effect. Therefore, the only State Board action that could have injured

anyone now is the enforcement of N.M. 2020-19. But the voters have failed to show that implementation

of N.M. 2020-19 has imposed different requirements on them.

        N.M. 2020-19 provides a cure mechanism for voters to correct deficiencies in the completion of

their absentee-ballot container envelopes. That memo does not get enforced unless an absentee voter

makes errors when completing her container envelope and a cure is required. Both voters allege that they

have already returned their ballots by mail and their ballots have been accepted. Dkt. 1, ¶¶ 9, 10.

Accordingly, both voter-plaintiffs appear to have made no errors on their envelopes, avoiding triggering

the memo’s provisions. Therefore, it is impossible for the implementation and enforcement of the memo

to have had any effect—much less injury—on either of the voter plaintiffs.

        Moreover, the right that the voters seek to assert—that only properly marked ballots are

counted—is possessed by every voter in North Carolina, and therefore does not rise to an injury incurred

by any one particular voter. See, e.g., Hollingsworth v. Perry, 570 U.S. 693, 705-06 (2013) (A litigant

raising only a generally available grievance about government—claiming only harm to his and every

citizen’s interest in proper application of the Constitution and laws, and seeking relief that no more

directly and tangibly benefits him than it does the public at large—does not state an Article III case or

controversy); Lance v. Coffman, 549 U.S. 437, 439 (2007); Lujan, 504 U.S. at 575. The voter plaintiffs

have not shown any particularized injury here.

                                                     13

           Case 5:20-cv-00507-D Document 31 Filed 10/01/20 Page 13 of 30
                 4.         Plaintiffs Seek Relief That Does Not Redress Their Alleged Harms.

        Plaintiffs seek to enjoin the effect of N.M. 2020-19 “to the extent [it] overrule[s] the enactments

of the General Assembly,” including the witness requirement. But if this Court were to enjoin the

implementation of N.M. 2020-19, the State would have no cure procedure in place at all. The State Board

is currently enjoined from rejecting any ballots without providing a cure process so that voters may

redress curable deficiencies. Democracy NC, Dkt. 124 at 187. Without N.M. 2020-19, the State Board

would have no way of rejecting any absentee ballots, exacerbating plaintiffs’ perceived injury resulting

from an alleged elimination of the witness requirement. Plaintiffs “must seek relief that actually improves

their position.” Townley v. Miller, 722 F.3d 1128, 1134 (9th Cir. 2013). The relief Plaintiffs have

requested here “worsen[s] plaintiffs’ injury rather than redressing it.” Id. at 1135.

        An injunction against the ballot return procedure would have similar effect. The provision

plaintiffs’ object to—accepting ballots that cannot be verified as having been returned by the voter or the

voter’s near relative or guardian—is not a provision that was implemented for the first time here. N.M.

2020-23. Rule 08 NCAC 18 .0102 (effective Dec 2018) explicitly states that failure to confirm that an

absentee ballot was returned by the voter or a voter’s near relative or guardian “shall not constitute

evidence sufficient in and of itself to establish that the voter did not lawfully vote his or her ballot.”

Enjoining the N.M., which only reiterates this preexisting rule and does not change it, therefore does not

grant plaintiffs the relief they seek.

        B.       Plaintiffs’ Requested Relief Is Barred by the Anti-Injunction Act.

        Plaintiffs’ attempt to avoid litigating these issues in the first-filed state-court proceeding should

be rejected. In that state-court case, the Legislators intervened to oppose the consent judgment, and

ground their opposition in part on the same arguments they make here. See LDs’ Opp to Joint Motion for

Entry of a Consent Judgment, NC Alliance for Retired Americans, No. 20 CVS 8881. But rather than let

those arguments be judged in the first instance by the state court in the proceedings in which they are

relevant, they seek injunctive relief in federal court to prohibit the consent judgment from going into

effect. “[A]n injunction to stay proceedings in a State court” would be barred by the Anti-Injunction Act.

                                                       14

             Case 5:20-cv-00507-D Document 31 Filed 10/01/20 Page 14 of 30
28 U.S.C. § 2283. Plaintiffs should not be permitted to circumvent this rule by seeking to enjoin portions

of a consent judgment that are currently under consideration in a separate state-court action.

        The Anti-Injunction Act “is an absolute prohibition against enjoining state court proceedings,

unless the injunction falls within one of three specifically defined exceptions.” Ackerman v. ExxonMobil

Corp., 734 F.3d 237, 250 (4th Cir. 2013) (quoting Atlantic Coast Line R. Co. v. Brotherhood of

Locomotive Engineers, 398 U.S. 281, 286 (1970)). Here, plaintiffs seek “preliminary and permanent

injunction[s] enjoining Defendants from enforcing and distributing” each N.M. Complaint, Prayer for

Relief (e)-(g). These proposed injunctions, directed at the party to a state-court action—an action in which

the Legislative-Plaintiffs are also parties—and aiming to prohibit a certain outcome of that action, plainly

fall within the scope of the Act. “An injunction issued against parties to a state court proceeding is, for

purposes of the Act, considered an injunction to stay the state court proceeding itself.” In re MI Windows

& Doors, Inc., Prods. Liability Litig., 860 F.3d 218, 224 (4th Cir. 2017); Atlantic Coast, 398 U.S. at 287

(“the prohibition of [§] 2283 cannot be evaded by addressing the order to the parties”).

        Thus, the proposed injunction violates the Anti-Injunction Act unless it falls within one of the

Act’s three exceptions. Ackerman, 734 F.3d at 250. No exception applies here. The first exception

applies “when [a federal] statute creates ‘a specific and uniquely federal right or remedy, enforceable in a

federal court of equity, that could be frustrated if the federal court were not empowered to enjoin a state

court proceeding.” Id. (quoting Mitchum v. Foster, 407 U.S. 225, 237 (1972)). Plaintiffs portray their

claims as emerging from civil rights violations under § 1983. But courts should not lightly use § 1983 to

intervene in state-court proceedings. See, e.g., Hawaii Housing Auth. v. Midkiff, 463 U.S. 1323, 1325

(1983) (Rehnquist, J.) (“Where vital state interests are involved, a federal court should refrain from

enjoining an on-going state judicial proceeding unless state law clearly bars the interposition of

constitutional claims, or some extraordinary circumstance exists requiring equitable relief.”). Also,

because plaintiffs do not have standing to assert their claims, there is no § 1983 action properly before

this Court. The “expressly authorized” exception to the Act does not apply. See Atlantic Coast Line, 398

U.S. at 297 (“Any doubts as to the propriety of a federal injunction against state court proceedings should

                                                     15

           Case 5:20-cv-00507-D Document 31 Filed 10/01/20 Page 15 of 30
be resolved in favor of permitting the state courts to proceed in an orderly fashion to finally determine the

controversy.”).

          The “necessary in aid of its jurisdiction” exception “is widely understood to apply most often

when a federal court was the first in obtaining jurisdiction over a res in an in rem action and the federal

court seeks to enjoin suits in state courts involving the same res.” In re Am. Honda Motor Co., Inc.,

Dealerships Relations Litig., 315 F.3d 417, 439 (2003). The third exception, “to protect or effectuate [a

federal court’s] judgments,” or the “relitigation exception,” “was designed to permit a federal court to

prevent state court litigation of an issue that previously was presented to and decided by the federal

court.” Chick Kam Choo v. Exxon Corp., 486 U.S. 140, 147 (1988). Plainly, neither exception is relevant

here. .

          C.      This Court Should Abstain From Issues Litigated in State Court.

          Plaintiffs’ constitutional claims each turn on the alleged illegality under state law of the N.M. that

are part of the proposed consent judgment. See Complaint ¶ 84-85, 93. As a result, well-settled principles

of abstention counsel against this Court deciding those claims. If the Court were to decide plaintiffs’

motion before the state court ruled on the proposed consent judgment, its decision would either be

rendered advisory by a state court decision rejecting the consent judgment, or it would risk intruding on

the state courts’ construction of state law in approving the consent judgment. On the other hand, if the

Court were to reach the merits of plaintiffs’ motion after the state court issues its decision, it would risk

allowing itself to impermissibly serve as a forum to appeal that decision, in violation of the Rooker-

Feldman doctrine. The Court should decline plaintiffs’ request to ignore these important principles of

federalism and comity.

                  1.       If This Motion is Decided Before the Entry of a Consent Decree, This
                           Lawsuit Is Jurisdictionally Barred.

          “Pullman abstention . . . is appropriate where there are unsettled questions of state law that may

dispose of the case and avoid the need for deciding the constitutional question.” Meredith v. Talbot Cty.,

Md., 828 F.2d 228, 231 (4th Cir. 1987). Application of the Pullman doctrine requires: “(1) an unclear


                                                       16

               Case 5:20-cv-00507-D Document 31 Filed 10/01/20 Page 16 of 30
issue of state law presented for decision, (2) the resolution of which may moot or present in a different

posture the federal constitutional issue such that the state law issue is potentially dispositive.” Educ.

Servs., Inc. v. Md. State Bd. for Higher Educ., 710 F.2d 170, 174 (4th Cir. 1983); see also NC RSOL v.

Boone, 402 F. Supp. 3d 240, 257 (M.D.N.C. 2019). “Pullman abstention serves two primary goals: (1)

avoiding constitutional questions when their resolution is unnecessary, and (2) allowing state courts to

decide issues of state law.” Nivens v. Gilchrist, 444 F.3d 237, 246 n.6 (4th Cir. 2006). Both of the

requirements for abstention are presented here, and abstention would achieve the doctrine’s two goals.

        First, plaintiffs’ claims plainly implicate unsettled issues of state law. Plaintiffs have requested

that this court enter an order “prohibiting Defendants from enforcing and distributing the Numbered

Memoranda at issue in this case.” Mot. at 1. As they acknowledge, the N.M. are tied to and a part of a

potential settlement that the Board has reached in a state court action. See Complaint ¶ 53; Br. at 6. The

Legislators are particularly aware of this fact because they have intervened in that action to oppose the

consent judgment. See Complaint ¶ 51; LDs’ Opp. to Joint Motion for Entry of a Consent Judgment, NC

Alliance for Retired Americans v. NC State Bd. of Elections, No. 20 CVS 8881. In their opposition to the

entry of the consent judgment, the Legislators argue: (1) that the consent judgment cannot be entered

because “Legislative Defendants are necessary parties to any consent judgment,” (2) the state court does

not have jurisdiction under state law to enter the consent judgment, (3) the consent judgment is collusive,

(4) the consent judgment violates the federal constitution, (5) the consent judgment is not “fair, adequate,

and reasonable,” and (6) the consent judgment is against the public interest. Id.

        Thus, by the Legislators’ count, there are no less than five adequate and independent state-law

reasons for the state court to reject the proposed consent judgment. The state court’s acceptance of any

one of those reasons—and consequent rejection of the consent judgment—would moot this case. That is,

“the resolution of [these issues] may moot or present in a different posture the federal constitutional issue

such that the state law issue is ‘potentially dispositive.’” Educ. Servs., Inc. v. Md. State Bd. for Higher

Educ., 710 F.2d at 174. But approval of the consent judgment would also significantly change the posture

of the federal constitutional questions in this case. Approval of the consent judgment would necessarily

                                                      17

           Case 5:20-cv-00507-D Document 31 Filed 10/01/20 Page 17 of 30
entail a finding that the Board has the delegated authority under state law to make the changes in the N.M.

The state court’s conclusion on that point would be dispositive as to plaintiffs’ Election Clause claim in

this case.

        Federal courts faced with similar situations have repeatedly made the decision to abstain, or else

have been instructed by the Courts of Appeals to do so. For example, Texas’s vote-by-mail rules have

been challenged in both state and federal court, and those lawsuits have sought injunctive relief barring

enforcement of those rules. See Texas Democratic Party v. Abbott, 961 F.3d 389, 394-96 (5th Cir. 2020).

While the state-court litigation was pending, the Western District of Texas granted a preliminary

injunction that would allow every Texas voter to vote by mail. Id. The Fifth Circuit stayed the injunction,

criticizing the district court’s decision to rule “without waiting . . . for the Texas Supreme Court to

interpret its own state’s election law.” Id. at 396. “The district court’s decision to forge ahead despite an

intimately intertwined—and, at that time, unresolved—state-law issue was not well considered.” Id. at

397 n.13.

        In Trump for President, Inc. v. Boockvar, 2020 WL 4920952 (W.D. Pa. Aug. 23, 2020), plaintiffs

argued that Pennsylvania’s Secretary of the Commonwealth’s recent implementation of a mail-in voting

plan violated “the Pennsylvania election code and violate[s] their rights under the federal and state

constitutions.” Id. at *2. Those claims also included Elections Clause and Equal Protection Clause

violations. Id. at *9. As is the case here, “Plaintiffs’ federal-constitutional claims hinge on violations of

the [state] election code.” Id.; see Complaint ¶ 84, 85 (premising Elections Clause claim on violation of

state law), 93 (premising Equal Protection Clause claim on argument that the N.M. “ensure[] the counting

of votes that are invalid under” state law). The court concluded that Pullman abstention was appropriate

because “a state court could simply decide whether Defendants’ conduct violates the election code and, if

it does, enjoin it on that basis.” Id. at *2. “Conversely, a state-court finding that Secretary Boockvar’s

guidance was lawful could defeat, or at least play a critical role in the Court’s analysis of, Plaintiffs’

constitutional claims . . . .” Id. Thus the Court concluded that “the important principles underlying the

Pullman abstention doctrine—federalism, comity, constitutional avoidance, error prevention, and judicial

                                                      18

             Case 5:20-cv-00507-D Document 31 Filed 10/01/20 Page 18 of 30
efficiency—all weigh strongly in favor of letting state court decides predicate disputes about the meaning

of Pennsylvania’s state election code.” Id.1

        Those same principles counsel abstention here. The doctrine of constitutional avoidance is “more

deeply rooted than any other [doctrine] in the process of constitutional adjudication.” Spector Motor

Serv. v. McLaughlin, 323 U.S. 101, 105 (1944). If this Court were to wade into the merits of Plaintiffs’

claims prior to the state court decision, it risks issuing what may ultimately be an advisory opinion on an

important question of constitutional law. As federal courts across the country have recognized when faced

with similar circumstances, the better course is to abstain.

                 2.      If This Court Rules After the Entry of a Consent Decree, This Lawsuit Is
                         Still Jurisdictionally Barred.

        Waiting for the state court to issue its judgment before reaching the merits of plaintiffs’ claims

does not avoid the troublesome intrusions on federalism and comity presented by plaintiffs’ complaint.

Rather, the courts of the state of North Carolina should be allowed to definitively adjudicate the state-law

predicates of plaintiffs’ federal constitutional claims. If this Court were to proceed to adjudicate plaintiffs’

claims after a state court upheld the consent judgment, it would be, in function, serving as a forum for the

plaintiffs to appeal that state court decision. 2 This would run afoul of the bedrock principle, expressed

through the Rooker-Feldman and Pennzoil doctrines.

        Under Rooker-Feldman, suits that “essentially invite[] federal courts of first instance to review

and reverse unfavorable state court judgments” must be “dismissed for lack of subject-matter

1
  See also Moore v. Hosemann, 591 F.3d 741, 744-45 (5th Cir. 2009) (reversing district court’s
conclusion that candidate’s constitutional challenge to filing deadline was moot after election occurred
but remanding "urg[ing] the district court to consider whether to abstain” under the Pullman doctrine
because an adverse ruling would dispose of any federal constitutional question); Burdick v. Takushi, 846
F.2d 587, 88-89 (1988) (reversing district court’s grant of summary judgment for plaintiff regarding
Hawaii’s prohibition on write-in voting and concluding Pullman abstention was appropriate because it
was unclear whether Hawaii actually did prohibit write-in voting and that a state court decision finding
that it did not would obviate the federal claim); Fuente v. Cortes, 207 F. Supp. 3d 441, 449-50 (M.D. Pa.
2016) (abstaining from plaintiff’s challenge to his exclusion from ballot as an independent candidate
because of unsettled underlying issue as to whether his exclusion was proper under state law).
2
 Plainly, if the state court were to reject the consent judgment, Plaintiffs’ complaint would be moot. This
section therefore assumes that the state court approves the consent judgment.


                                                      19

           Case 5:20-cv-00507-D Document 31 Filed 10/01/20 Page 19 of 30
jurisdiction.” Exxon Mobil Corp. v. Saudi Basic Indus. Corp., 544 U.S. 280, 283-84 (2005); see also 28

U.S.C. § 1257. Courts examine “whether the state-court loser who files suit in federal district court seeks

redress for an injury caused by the state-court decision itself.” Davani v. Va. Dep’t of Transp., 434 F.3d

712, 718 (4th Cir. 2006); see also Howell v. Wilson, No. 3:15-cv-2561, 2015 WL 7272185, at *2 (D.S.C.

Nov. 13, 2015) (“After Exxon, the proper inquiry examines the source of the plaintiff’s injury: if the state

court judgment caused the plaintiff’s injury, the claim is barred, but a claim alleging another source of

injury is an independent claim.”).

        The N.M. will be effective if, and only if, the consent judgment is approved by the state court.

Therefore, to the extent that plaintiffs are injured by the changes made in the N.M., they will be injured

by the state court’s approval and entry of the consent judgment. Thus, plaintiffs seek relief in this court

from a state court order. See Hoblock v. Albany Cty. Bd. of Elections, 422 F.3d 77, 88 (2d Cir. 2005)

(“Where a state-court judgment causes the challenged third-party action, any challenge to that third-party

action is necessarily the kind of challenge to the state court judgment that only the Supreme Court can

hear.”). Additionally, plaintiffs have also pressed their federal constitutional claims in the state court

proceeding. See LDs Opp to Joint Motion for Entry of a Consent Judgment, NC Alliance for Retired

Americans v. NC State Bd. of Elections, No. 20 CVS 8881. As a consequence, any ruling in plaintiffs’

favor would necessarily “reverse or modify the state court decree.” See McGee v. N.C. State Bar, No.

5:12-cv-227, 2012 WL 5993758, at *2 (quoting Adkins v. Rumsfeld, 464 F.3d 456, 464 (4th Cir. 2006)).

This route is barred by Rooker-Feldman.

        Similarly, plaintiffs’ claims would also be barred by the Pennzoil v. Texaco doctrine. In Pennzoil,

the Supreme Court rejected Texaco’s attempt to enjoin the enforcement of a state court injunction after it

had lost in that forum. 481 U.S. 1, 14 (1987). The Supreme Court held that “federal injunctions” may not

be used to “interfere with the execution of state judgments,” particularly where the federal lawsuit

“challenge[s] the very process by which [the state court] judgments were obtained” and the federal

constitutional claim could have been raised in the state court action. Id. at 14-16.



                                                      20

           Case 5:20-cv-00507-D Document 31 Filed 10/01/20 Page 20 of 30
         Pennzoil would foreclose the relief plaintiffs seek here. If this Court were to enjoin the

memoranda, it would be invalidating the basis of a state-court judgment. This is particularly true given

that the Legislators are defendants in the state-court action and raised the same federal claims in that case.

The proper forum for the constitutional challenges raised here would be in the state court itself.

         D.      Plaintiffs’ Elections Clause Claim Is Meritless.

                 1.       The Merits of Plaintiffs’ Elections Clause Claim Turn on State Law

         The Elections Clause states, in relevant part, that “[t]he Times, Places and Manner of holding

Elections for Senators and Representatives, shall be prescribed in each State by the Legislature thereof.”

U.S. Const. art. I, § 4, cl. 1. Plaintiffs assert that this Clause empowers “only two entities” to regulate

elections in North Carolina: Congress and the North Carolina General Assembly. Br. at 11; see also id. at

12 (contending that “[b]y choosing to use the word ‘Legislature,’ the Elections Clause makes clear that

the Constitution . . . grant[s] the power to regulate elections . . . to the state’s legislative branch” alone).

Under binding Supreme Court precedent, plaintiffs’ interpretation of the Elections Clause is plainly

wrong.

         More than a century ago, the Supreme Court made clear that the word “Legislature” in the

Elections Clause should not be read as a reference to “the representative body alone.” Ariz. State

Legislature v. Ariz. Indep. Redistricting Comm’n (“AIRC”), 576 U.S. 787, 805 (2015) (describing the

holding in Davis v. Hildebrant, 241 U.S. 565 (1916)). In that case, Davis v. Hildebrant, the Court

considered whether the State of Ohio could constitutionally submit state redistricting laws to residents of

Ohio for approval or disapproval by popular vote. 241 U.S. at 566. The Hildebrant plaintiffs had argued

that, because the Elections Clause commits elections to “the Legislature,” the populace could not

constitutionally be involved in lawmaking related to elections. Id. at 567. The Supreme Court disagreed.

Because, under Ohio law, popular referenda “were a part of the legislative power of the state,” the Court

held that they fell within the scope of the Elections Clause. Id.

         The Supreme Court has repeatedly affirmed this interpretation of the Elections Clause, including

as recently as 2015. E.g., AIRC , 576 U.S. 787; Smiley v. Holm, 285 U.S. 355 (1932). Arizona

                                                        21

              Case 5:20-cv-00507-D Document 31 Filed 10/01/20 Page 21 of 30
Independent Redistricting Commission, assessed the constitutionality of a redistricting commission that

had been created as part of an initiative ratified by Arizona voters. 285 U.S. at 792. After the commission

adopted new redistricting maps, the Arizona Legislature sued, arguing that the commission had usurped

its authority under the Elections Clause. In the Legislature’s view, the Clause’s use of the word

“Legislature” “mean[t] specifically and only the representative body which makes the laws of the

people.” Id. (citation omitted). The Arizona Legislature thus maintained that the Commission—and the

maps that it had drawn—were unconstitutional.

        The Supreme Court rejected this narrow reading of the Elections Clause. Id. at 814-24. At the

time of the Founding, the Court explained, the word “legislature” was “capaciously define[d].” Id. at 813

(citing several Founding-era dictionaries). The “meaning of the word ‘legislature’”—a word “used several

times in the Federal Constitution”—therefore “differs” based on the context in which it is used. Id. at 808

(quoting Atl. Cleaners & Dyers, Inc. v. United States, 286 U.S. 427, 434 (1932)) (alteration omitted).

        For purposes of the Elections Clause, the Court said, the word “Legislature” must be interpreted

“in accordance with the [relevant] State’s prescriptions for lawmaking.” Id. For example, if state law

requires that elections laws be passed by a General Assembly subject to the Governor’s veto, “the

Elections Clause . . . respect[s] the State’s choice to include the Governor” in the legislative process. Id. at

807; see also Smiley, 285 U.S. at 368, 372-73. If, instead, state law “place[s] the lead rein in the people

hands” to oversee elections-related lawmaking, then the “Legislature” should be read to include them.

AIRC, 576 U.S. at 816.

        Applying Arizona Independent Redistricting Commission and the many precedents like it, this

Court cannot simply assume—as plaintiffs urge—that the North Carolina General Assembly is the

“Legislature” that the Elections Clause references. E.g., Br. at 11 (“The General Assembly is the

‘Legislature’ . . . .”); id. at 12-13, 15 (“[T]he Elections Clause . . . grant[s] the power to regulate elections

. . . only to the state’s legislative branch.”); see also AIRC, 576 U.S. at 805, 808-09, 816; Hildebrant, 241

U.S. 565; Smiley, 285 U.S. at 368. Instead, this Court must look to North Carolina law to determine who



                                                       22

           Case 5:20-cv-00507-D Document 31 Filed 10/01/20 Page 22 of 30
the State authorizes to regulate elections. See Smiley, 285 U.S. at 368 (question of who has the “authority

[to] mak[e] laws for the state” is a “matter of state polity”).

                  2.       Because Plaintiffs’ Claim Turns on State Law, It Is Barred by Sovereign
                           Immunity

         Because the merits of plaintiffs’ Elections Clause claim turn on a question of state law, this Court

lacks jurisdiction to consider the claim. Pennhurst State Sch. & Hosp. v. Halderman, 465 U.S. 89, 124-25

(1984) (“[T]he federal courts lack[ ] jurisdiction to enjoin . . . state officials on the basis of . . . state

law.”). “[S]overeign immunity . . . bars a court’s grant of any type of relief . . . based upon a State

official’s violation of State law.” Bragg v. W. Va. Coal Ass’n, 248 F.3d 275, 293 (4th Cir. 2001); see also

Pennhurst, 465 U.S. at 106, 124-25. Indeed, “it is difficult to think of a greater intrusion on state

sovereignty than when a federal court instructs state officials on how to conform their conduct to state

law.” Pennhurst, 465 U.S. 89, 106.

         Plaintiffs’ Elections Clause claim flouts this clear rule. At bottom, plaintiffs are accusing the State

Board of violating state law, which, they say, appoints the General Assembly as the sole regulator of

federal elections. See Complaint ¶¶ 1-2, 18-19, 79; see also Br. at 1-2, 11-12, 14-16 (same). In other

words, this Court can find an Elections Clause violation only if it first concludes that the State Board

exceeded the authority it enjoys under state law. Any injunction this Court enters against the State Board

therefore “contravenes the Eleventh Amendment.” Pennhurst, 456 U.S. at 117; see also id. at 106 (“A

federal court’s grant of relief against state officials on the basis of state law . . . conflicts directly with the

principles of federalism that underlie the Eleventh Amendment.”).

                  3.       State Law Plainly Authorizes the Board’s Proposed Actions

         Even if this Court had subject-matter jurisdiction, plaintiffs’ Elections claim would fail on the

merits. The Board’s actions here violate the Elections Clause only if they are inconsistent with “the

method which the State has prescribed” for enacting elections regulations. AIRC, 567 U.S. at 807 (quoting

Smiley, 285 U.S. at 367); see supra Part II.D.1. But they are not. Instead, all three challenged memoranda

are consistent with the State Board’s authority under state law.


                                                         23

           Case 5:20-cv-00507-D Document 31 Filed 10/01/20 Page 23 of 30
        As an initial matter, under North Carolina law, the General Assembly has expressly delegated

substantial authority over the conduct of elections to the State Board. Indeed, the General Statutes

authorize the State Board to “supervis[e]” elections in the State and “to make such reasonable rules and

regulations with respect to the conduct of . . . elections as it may deem advisable so long as they do not

conflict with any provisions of this Chapter.” N.C. Gen. Stat. § 163-22(a). Pursuant to this authority, the

State Board makes a wide range of “interstitial policy decisions” that govern the “Time[ ], Place[ ], and

Manner” of federal elections in the State—“including, but not limited to, . . . the number and location of

the early voting sites to be established in each county and the number of hours during which early voting

will be allowed at each site;” the requirements that voting systems must fulfill; and the guidelines for

conducting a recount. Cooper v. Berger, 809 S.E.2d 98, 112 n.11 (N.C. 2018); 08 N.C. Admin. Code

04.0301 (voting-system requirements); 08 N.C. Admin. Code 09.0106 (recounts).

        In addition to this general authority, state law also specifically empowers the State Board to

regulate elections on an emergency basis in certain contexts: First, when one or more of North Carolina’s

election laws are “held unconstitutional or invalid,” the Board has the “authority to make reasonable

interim rules and regulations with respect to the pending . . . election as it deems advisable.” N.C. Gen.

Stat. § 163-22.2. Second, the Board is “authorized, upon recommendation of the Attorney General, to

enter into agreement with the courts in lieu of protracted litigation until such time as the General

Assembly convenes.” Id. This authorizes the State Board to enter into a settlement agreement when a

legal challenge to one of the State’s election laws or other regulations threatens to disrupt an impending

election. Third, the Board’s Executive Director “may exercise emergency powers . . . where the normal

schedule for the election is disrupted by” a “natural disaster,” “[e]xtremely inclement weather,” or “[a]n

armed conflict.” Id. § 163-27.1. “[N]atural disaster,” in turn, is defined to include, among other things,

hurricanes, tornadoes, and “[c]atastrophe[s] arising from natural causes” that “result[ ] in a disaster

declaration by the President . . . or the Governor.” 08 N.C. Admin. Code 01.0106.

        Together, these laws make plain that the word “Legislature” in the Elections Clause, interpreted

in accordance with the Supreme Court’s direction, does not consist of the General Assembly alone. In

                                                      24

           Case 5:20-cv-00507-D Document 31 Filed 10/01/20 Page 24 of 30
North Carolina, the State Board is clearly an integral source of “legislative authority” delegated from the

General Assembly. See AIRC, 576 U.S. at 805 (quoting Hildebrant, 241 U.S. at 567); see also, e.g., N.C.

Gen. Stat. §§ 163-22(a), 163-22.2, 27.1; Cooper v. Berger, 809 S.E.2d 98, 112 n.11 (N.C. 2018).

        All three of the challenged memoranda are consistent with this legislative framework and fall

comfortably within the scope of the Board’s authority.

        First, all three memoranda arise out of a consent judgment proposed in response to a lawsuit filed

in state court seven weeks ago. NC Alliance, No. 20-CVS-8881. As discussed above, the plaintiffs in that

suit challenged a range of election laws as violating the North Carolina Constitution, including a range of

laws that remain unaffected by the proposed consent judgment.. To avoid “protracted litigation”—at a

time when voters are in desperate need of clarity—the State Board made the considered decision to enter

into a consent agreement settling all of these claims. See N.C. Gen. Stat. § 163-22.2. A decision of that

kind is expressly authorized under state law. Id.

        Second, N.M. 2020-19, which implements a cure mechanism, sets forth “reasonable interim rules

and regulations” in the wake of a constitutional challenge to the State’s elections regime. See N.C. Gen.

Stat. § 163-22.2. On August 4, 2020, a district court held that North Carolina’s absentee-ballot laws failed

to afford voters procedural due process because voters lacked “any notice of, or opportunities to cure,

material defects in . . . th[eir] absentee ballots.” Democracy NC v. N.C. State Bd. of Elecs., 2020 U.S.

Dist. LEXIS 138492 (Aug. 4, 2020). Accordingly, the court enjoined the State Board from allowing any

absentee ballots to be rejected “without due process.” Id. at 187. Based in part on their good-faith effort

to comply with the Board’s understanding of the injunction, the State Board instituted the cure procedure

set forth in N.M. 2020-19. The “reasonable interim rules and regulations” set forth in N.M. 2020-19 thus

fall under the Board’s authority under N.C. Gen. Stat. § 163-22.2.

        Third, the rules established in the N.M. would be independently authorized pursuant to the

Executive Director’s emergency authority under § 163-27.1(a)(1). North Carolina law permits the

Director to modify the State’s elections framework following a “natural disaster,” including a

“[c]atastrophe arising from natural causes [that has] resulted in a disaster declaration by the President . . .

                                                      25

           Case 5:20-cv-00507-D Document 31 Filed 10/01/20 Page 25 of 30
or the Governor.” Id.; 08 N.C. Admin. Code 01.0106(b). Here, North Carolina is operating under

emergency declarations issued by the President and the Governor as the result of a pandemic. As a result,

state law authorizes the Executive Director to implement the “remedial measures” set forth in the N.M., if

she concludes that they are necessary in light of the factors listed in 08 N.C. Admin. Code 01.0106(c).

Plaintiffs would have this Court believe that it violates the Elections Clause for the State Board to agree in

a consent judgment to modifications to the State’s elections procedures that state law, as enacted by the

General Assembly, authorizes the Executive Director to implement. Plaintiffs’ contention lacks merit.

        Plaintiffs dispute this understanding of the Board’s authority because, they say, the rules set forth

in the N.M. “conflict with provisions enacted by the General Assembly.” Br. at 15. Plaintiffs are wrong

as a matter of North Carolina law. Section 163-27.1, the statute empowering the Executive Director to

exercise emergency powers asks the Director to “avoid unnecessary conflict with” the State’s other

election laws. Inherent in this command is an implicit acknowledgement that tension between an

emergency rule and a General Statute is lawful and expected. Similarly, the portion of § 163-22.2 that

empowers the Board to “enter into agreement with the courts in lieu of protracted litigation” does not

forbid the Board from entering any agreement that deviates from the election rules set out in other

statutes. Section 163-22.2, after all, authorizes the Board to respond when the State’s election laws are the

target of litigation. In enacting that authorization, the General Assembly surely did not contemplate that

consent judgments would require total surrender by plaintiffs, leaving in place the default rules that had

been the impetus for the lawsuit in the first place.

        In sum, because all of the rules set forth in the N.M. were imposed consistent with the authority

afforded the State Board under state law, they do not violate the Elections Clause.

        E.       Plaintiffs’ Equal Protection Claim Is Meritless.

        Plaintiffs are similarly unlikely to succeed on their equal-protection claim. That claim is premised

on two primary arguments, both of which lack merit.

        First, plaintiffs argue that the N.M. will give rise to “arbitrary” and “nonuniform rules that will

result in the unequal evaluation of ballots.” Br. at 17. But even plaintiffs’ own allegations cannot support

                                                       26

             Case 5:20-cv-00507-D Document 31 Filed 10/01/20 Page 26 of 30
this argument. The entire purpose of the consent judgment is to ensure uniformity and consistency with

the election just weeks away. Consistent with that purpose, the consent judgment would impose clear

rules that would apply to any mail-in absentee ballot cast in North Carolina as part of the November 2020

election. Not surprisingly, then, plaintiffs have not identified any rules in the N.M. that will apply to some

voters, but not to others. Nor have they identified any that are likely to be enforced against some voters,

but not others.

          To the contrary, all of North Carolina’s election rules—including those set forth in the N.M.—

will apply uniformly to all voters: All voters whose mail-in ballots are postmarked by Election Day and

received within nine days can have their votes counted. See N.M. 2020-22. All voters who wish to vote

via mail-in absentee ballot must comply with the State’s witness requirement. 2020 N.C. Sess. Laws

2020-17, § 1.(a). All voters who wish to submit a mail-in absentee ballot in person may do so, so long as

the individual dropping off the ballot provides the information required for the written log. See N.M.

2020-23. And all voters who return a mail-in absentee ballot with a curable deficiency can remedy that

deficiency by way of a certification. See N.M. 2020-19. Plaintiffs’ complaint does not allege otherwise

with respect to any of these rules, a fact that dooms their equal-protection claim to the extent it relies on

arbitrary treatment.

          Plaintiffs’ second equal-protection theory is grounded in the idea that the N.M. dilute their votes.

See Br. at 20. According to plaintiffs, the N.M. will allow invalid votes to be counted, thereby

“promot[ing] fraud and dilut[ing] the . . . weight of lawful voters.” Id. The problems with this argument

are manifold.

          First, like plaintiffs’ Elections Clause claim, their vote-dilution argument is barred by sovereign

immunity. A key premise underlying plaintiffs’ voter-dilution theory is that the N.M. violate state law and

thus enables unlawful votes. But, as discussed above, Pennhurst bars this Court from enjoining state

officials based on an alleged violation of state law. Pennhurst, 465 U.S. at 106, 124-25; see supra Part

II.D.2.



                                                       27

            Case 5:20-cv-00507-D Document 31 Filed 10/01/20 Page 27 of 30
        Second, although vote dilution can serve as the basis for an equal-protection claim, Plaintiffs’

theory is fundamentally incompatible with the nature of such a claim. “[A] vote dilution claim alleges that

the State has enacted a particular voting scheme as a purposeful device ‘to minimize or cancel out the

voting potential’” of a particular group. Miller v. Johnson, 515 U.S. 900, 911 (1995); see also Reynolds v.

Sims, 377 U.S. 533, 568 (1964). In other words, a successful voter-dilution claim must prove that the

State failed to afford the votes of one group of voters “the same weight as th[ose] of other voters.”

Hadley v. Junior College Dist. of Metro. Kansas City, Mo., 397 U.S. 50, 53 (1970). Plaintiffs’ complaint

alleges no such thing—and understandably so. The N.M. represent the State’s best effort to protect North

Carolinians’ right to vote, notwithstanding a global pandemic. Plaintiffs offer no evidence whatsoever

that the intent of the Memoranda was to devalue the votes of one group of lawful voters vis-à-vis another.

        Instead, plaintiffs’ voter-dilution argument amounts to nothing more than rank speculation about

the prospect of voter fraud. See Br. at 20. Much as plaintiffs may wish otherwise, “[t]he Constitution is

not an election fraud statute.” Bodine v. Elkhart Cnty. Election Bd., 788 F.2d 1270, 1271 (7th Cir. 1986).

Plaintiffs thus cannot conjure up an equal-protection claim by advancing entirely unfounded theories

about how voter fraud might water down the weight of lawful votes. For these reasons, plaintiffs’ equal-

protection claim, too, lacks merit.

III.    Plaintiffs Cannot Establish Irreparable Harm.

         The second Winter factor requires that plaintiffs demonstrate they will suffer irreparable harm if

an injunction is not issued. Winter, 555 U.S. at 20. In Winter, the Supreme Court noted that “[i]ssuing a

preliminary injunction based only on a possibility of irreparable harm is inconsistent with our

characterization of injunctive relief as an extraordinary remedy that may only be awarded upon a clear

showing that the plaintiff is entitled to such relief.” Winter, 555 U.S. at 22 (internal citations and

quotations omitted). Plaintiffs have failed to make this showing.

        As already noted, plaintiffs have failed to adequately allege a cognizable injury at all, much less

irreparable harm from such an injury. See supra pp. 12-14. Two of the three challenged N.M. have not

gone into effect and will not go into effect unless the state court enters the consent judgment. Moreover,

                                                     28

           Case 5:20-cv-00507-D Document 31 Filed 10/01/20 Page 28 of 30
the Legislators-Plaintiffs have failed to demonstrate harm because, as again already shown, only the

General Assembly can assert that interest, and the Legislators are but two members of the 170-member

General Assembly. See, e.g., Raines v. Byrd, 521 U.S. 811 at 829. In addition, the voter-plaintiffs cannot

show that the challenged N.M. enforce different requirements on different voters or dilute the voters’

votes, let alone do so in any way that causes them harm. See supra pp. 27-29.

        Finally, as explained above, to the extent Plaintiffs’ claimed injuries are real and not illusory, they

are the result of the statutory electoral scheme enacted by the General Assembly—a statutory scheme that

Plaintiffs have not challenged on any grounds. Plaintiffs have therefore failed to show any harm at all,

much less irreparable harm. See supra pp. 12-14.

IV.     The Balance of the Equities and Public Interest Weigh Against a TRO.

        The final two Winter factors require plaintiffs to demonstrate that the equities tip in their favor

and that an injunction is in the public interest. Winter, 555 U.S. at 20. In cases involving significant public

interest, which unquestionably includes cases involving the conduct of elections, courts may “consider the

balance of the equities and the public interest factors together.” Courts must “pay particular regard for the

public consequences in employing the extraordinary remedy of injunction.” Weinberger v. Romero-

Barcelo, 456 U.S. 305, 312 (1982). Plaintiffs have not met and cannot meet these final two factors.

        Again, plaintiffs have failed to show any injury or harm at all; and so the balance of harms tips

decidedly away from them and in favor of the officials who are charged with administering North

Carolina’s election laws and who are doing so in clear conformity with those laws. Those laws include

laws that authorize the State Board to avoid protracted litigation and enter into consent judgments “until

such time as the General Assembly convenes” and that authorize the Executive Director to institute

emergency orders during a state or national disaster. Defendants therefore represent the public interest in

this case. Defendants have exercised these authorities in an attempt to ensure the orderly administration

of an election, despite a flurry of lawsuits filed amid a global pandemic. These efforts reflect the public

interest. “Because state officials are the parties against whom the injunction is sought, and they represent



                                                      29

           Case 5:20-cv-00507-D Document 31 Filed 10/01/20 Page 29 of 30
the public interest, consideration of the harm to them should the injunction issue merges with

consideration of the public interest.” Jackson v. Leake, 476 F. Supp. 2d 515, 530 (E.D.N.C. 2006).

        Defendants and the public unquestionably share a common interest here: the safe, secure and

orderly administration of the election in accordance with North Carolina law. Plaintiffs here essentially

claim harm, and harm that tips in their favor, unless only portions of North Carolina’s election laws are

recognized and enforced. Their claims of harm rest on ignoring the authority to administer elections that

the General Assembly has conferred on the State Board and its Executive Director, as recognized by the

North Carolina Supreme Court. See Cooper v. Berger, 809 S.E.2d 98. Simply put, Plaintiffs have failed

to adequately allege cognizable injuries or harms that can be remedied. There are no harms to tip the

balance their direction at all.

                                             CONCLUSION

        For the foregoing reasons, the State Defendants respectfully request that the Court deny plaintiffs’

motion for a temporary restraining order.



        This the 1st day of October, 2020.


                                                                  JOSHUA H. STEIN
                                                                  Attorney General

                                                                  /s/ Alexander McC. Peters
                                                                  Alexander McC. Peters
                                                                  N.C. State Bar No. 13654
                                                                  Chief Deputy Attorney General
                                                                  N.C. Dept. of Justice
                                                                  Post Office Box 629
                                                                  Raleigh, NC 27602
                                                                  Telephone: (919) 716-6900
                                                                  Facsimile: (919) 716-6763
                                                                  Email: apeters@ncdoj.gov




                                                    30

           Case 5:20-cv-00507-D Document 31 Filed 10/01/20 Page 30 of 30
